         Case 1:16-cv-00092-PMW Document 64 Filed 07/19/18 Page 1 of 3




George M. Haley (1302)
Romaine C. Marshall (9654)
Engels J. Tejeda (11427)
HOLLAND & HART LLP
222 South Main Street, Suite 2200
Salt Lake City, UT 84101
Telephone: (801) 799-5800
gmhaley@hollandhart.com
rcmarshall@hollandhart.com
ejtejeda@hollandhart.com

Attorneys for Plaintiff Xat.com Limited


                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION


XAT.COM LIMITED,                                  PLAINTIFF’S STATUS REPORT

       Plaintiff,
                                                  Case No. 1:16-cv-00092
v.
                                                  Honorable Paul M. Warner
HOSTING SERVICES, INC. A/K/A
100TB.COM,                                        Mediator: Magistrate Judge Dustin B. Pead

       Defendant.


       Pursuant to the Mediator’s Docket Text Order dated July 9, 2018, (ECF No. 63), Plaintiff

Xat.com Limited (“Xat”) hereby submits the following status report:

       Defendant Hosting Services, Inc. a/k/a 100TB.com unilaterally canceled the informal, in-

person settlement meeting and thus the parties did not meet on July 12, 2018.

       The Docket Text Order directed Xat and 100TB (the “Parties”) to file a status report to

include dates in September when the Parties are available to participate in-person at the

Settlement Conference, consistent with the requirements of the Settlement Order (ECF No. 53).
             Case 1:16-cv-00092-PMW Document 64 Filed 07/19/18 Page 2 of 3




The Parties have conferred as to their availability, and have not been able to find dates in

September that work for both Parties. However, the Parties are available to participate in the

Settlement Conference on October 10 or 16, 2018, should either of those dates work for the

Mediator.1

           DATED: July 19, 2018.

HOLLAND & HART LLP


/s/ Engels J. Tejeda
George M. Haley
Romaine C. Marshall
Engels J. Tejeda
HOLLAND & HART LLP
222 South Main Street, Suite 2200
Salt Lake City, Utah 84101
Telephone: (801) 799-5800
gmhaley@hollandhart.com
rcmarshall@hollandhart.com
ejtejeda@hollandhart.com

Attorneys for Plaintiff XAT.com




1
    The Parties have stipulated as to the dates indicated in this sentence, but not other provision of this Report.

                                                         2
         Case 1:16-cv-00092-PMW Document 64 Filed 07/19/18 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 19, 2018, I caused a copy of the foregoing to be served upon
the following via CM/ECF.


Paul G. Karlsgodt (pro hac vice)
BAKER & HOSTETLER LLP (CO)
1801 California Street
Denver, CO 80202
Telephone: (303) 764-4032
pkarlsgodt@bakerlaw.com

David M. McMillan (pro hac vice)
BAKER & HOSTETLER LLP (NY)
45 Rockefeller Plaza
New York, NY 10111
Telephone: (212) 847-2838 dmcmillan@bakerlaw.com

Patricia W. Christensen (0645)
PARR BROWN GEE & LOVELESS
101 South 200 East, Suite 700
Salt Lake City, Utah 84111
Telephone: (801) 257-7908
pchristensen@parrbrown.com

Attorneys for Defendant Hosting
Services, Inc. a/k/a 100TB.com

                                                             /s/ Engels J. Tejeda
                                                             Engels J. Tejeda




                                             3
